
720 S.E.2d 686 (2012)
George L. PETTY and Steven L. Petty
v.
CITY OF KANNAPOLIS and Investors Title Insurance Co.
No. 496P11.
Supreme Court of North Carolina.
January 26, 2012.
George L. Petty, for Petty, George L.
Robert C. Stephens, Charlotte, for City of Kannapolis,

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Plaintiff on the 10th of November 2011 in this matter pursuant to G.S. 730, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Defendant (City of Kannapolis), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 26th of January 2012."
Upon consideration of the petition filed on the 10th of November 2011 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th of January 2012."
